                          Exhibit 2




Case 1:20-cv-00954-WO-JLW Document 61-2 Filed 09/30/21 Page 1 of 7
Case 1:20-cv-00954-WO-JLW Document 61-2 Filed 09/30/21 Page 2 of 7
Case 1:20-cv-00954-WO-JLW Document 61-2 Filed 09/30/21 Page 3 of 7
Case 1:20-cv-00954-WO-JLW Document 61-2 Filed 09/30/21 Page 4 of 7
Case 1:20-cv-00954-WO-JLW Document 61-2 Filed 09/30/21 Page 5 of 7
Case 1:20-cv-00954-WO-JLW Document 61-2 Filed 09/30/21 Page 6 of 7
Case 1:20-cv-00954-WO-JLW Document 61-2 Filed 09/30/21 Page 7 of 7
